EXHIBIT 23
Category: Alt‐Right

First Visited                                                                Site
  12/3/2016 Search for alt right
  12/3/2016 Alt‐Right Wikipedia
  12/3/2016 Alt right memes
  3/14/2017 Search for Kek
  3/28/2017 Search for whitefish montana
  3/28/2017 Whitefish, Montana ‐ Wikipedia
  3/28/2017 Search for kalispell mt
  3/28/2017 Kalispell, Montana ‐ Wikipedia
  3/28/2017 craigslist: kalispell, MT jobs, apartments, for sale, services …
  5/27/2017 AltRight.com
    6/4/2017 Search for richard spencer
    6/4/2017 https://en.m.wikipedia.org/wiki/Richard_B._Spencer
    6/4/2017 Search for radix
    6/4/2017 http://www.radixjournal.com/
  6/10/2017 Search for alt right moving to north west
  6/10/2017 https://sofrep.com/82860/battleground‐cascadia‐alt‐right‐rally‐planned‐portland‐oregon‐brings‐fear‐violence/
  8/13/2017 Search for charlottesville va
  8/13/2017 http://www.cbsnews.com/news/white‐nationalists‐rally‐charlottesville‐live‐updates/
    9/8/2017 Search for styxhexenhammer666
    9/8/2017 Styxhexenhammer666 ‐ RationalWiki
  9/11/2017 https://www.buzzfeed.com/annehelenpetersen/love‐lives‐in‐whitefish‐but‐so‐do‐neo‐nazis
  9/11/2017 Search for april gaede 2017
  9/11/2017 April Gaede ‐ MT Cowgirl
  9/14/2017 AltRight Territory in the Pacific Northwest ‐ Red Ice
  7/17/2018 Search for navyhato
  7/17/2018 Search for black pigeon speaks identity
  7/17/2018 Black Pigeon Speaks ‐ RationalWiki
  7/17/2018 Major alt‐right youtuber blackpigeonspeaks just had his identity ...
  9/27/2018 Search for amerika blog
  9/27/2018 Amerika
  10/3/2018 http://alt‐right.com/2018/02/08/mercenary‐women‐parasitizing‐off‐right‐wing‐men/
 10/14/2018 Search for amerika
  12/1/2018 Search for right wing mormons
  12/1/2018 Meet The (Alt‐Right) Mormons: Inside The Church's Vocal White ...
  12/1/2018 Commentary: I'm ashamed to call myself a Mormon ‐ The Salt Lake ...
  12/1/2018 Right‐wing Mormons yearn for a return to the cult's racist past | Guest ...
Category: Breivik

  Date                                                            Site                                                     Additional
3/15/2017 Search for brevik
3/15/2017 https://en.m.wikipedia.org/wiki/Anders_Behring_Breivik                                           7/19/2018, 1/3/2019, 1/4/2019
3/15/2017 breivik manifesto
3/15/2017 Anders Behring Breivik's Complete Manifesto "2083 ‐ A European…
 6/4/2017 Search for anders breivik                                                                        7/19/2018, 1/3/2019, 1/4/2019, 1/23/2019
 6/4/2017 Anders Behring Breivik ‐ Wikipedia
 6/4/2017 Search for anders breivik hero
 6/4/2017 Why Liberals Are Terrified by Anders Breivik ‐ American Renaissance
7/19/2018 Search for anders breivik sister
1/23/2019 http://norwaytoday.info/news/vg‐breivik‐says‐regrets/
1/23/2019 http://waterfordwhispersnews.com/2016/05/18/anders‐breivik‐finally‐completes‐spyro‐the‐dragon/
1/23/2019 Anders Behring Breivik | Terrorist Groups | TRAC
Category: Drugs

First Visited                                                                               Site                                                             Additional
  12/9/2016 Search for smokable dmt
  12/9/2016 http://deoxy.org/smokedmt.htm
  12/9/2016 DMT Sources and Extractions ‐ Tryptamine Palace
 12/11/2016 Search for how to get smokable dmt
 12/11/2016 http://highexistence.com/topic/how‐do‐i‐make‐smokable‐dmt/
 12/11/2016 Smokeable DMT plant? ‐DMT Spice ‐ Mycotopia
    4/8/2017 Search for oxycodone 80mg
    4/8/2017 Snorting ‐ ‐ 80 mg Oxycodone | Drugs‐Forum
  4/17/2017 Search for pill with 377
  4/28/2017 Search for how do the test if your taking extra testosterone
  4/28/2017 Search for how do they test if your taking extra testosterone
  4/28/2017 Search for how do they test steroids testosterone
  4/28/2017 http://www.livestrong.com/article/286807‐how‐do‐they‐test‐for‐steroids/
  4/28/2017 How is it possible for a drug test to find Testosterone? ‐ EliteFitness
  4/28/2017 Steroid Detection Times ‐ steroid.com
  4/28/2017 Urine Testing ‐ Pharma ‐ Forums ‐ T Nation
  4/28/2017 Search for will hcg raise epitestosterone
  4/28/2017 http://www.ironmagazine.com/2016/human‐chorionic‐gonadotropin‐hcg‐and‐doping/
  4/28/2017 VERY IMPORTANT….Will HCG affect ones test:epitest levels on a …
  4/28/2017 Search for best way to use hcg
  4/28/2017 http://www.musclechemistry.com/upload/bodybuilding‐steroid‐and‐training‐articles/67819‐how‐run‐hcg‐during‐steroid‐cycle‐post‐cycle‐dosages.htm
  4/28/2017 Search for www.musclechemadvancedsupps.com
  4/28/2017 MuscleChemistry,Advanced Supplements
  4/28/2017 Search for best pct for long cycle
  4/28/2017 http://www.uk‐muscle.co.uk/topic/173919‐pct‐after‐very‐long‐cycle‐2‐years/
  4/28/2017 Year Long Cycle ‐ PCT Question ‐ Pharma ‐ Forums ‐ T Nation
  4/30/2017 Search for Aromasin
  4/30/2017 Search for hardcore pct
  4/30/2017 Search for pct
  4/30/2017 Search for dr's pct
  4/30/2017 PCT ‐ Lets get it ironed out (Dr Scally?)| Page 12 | MESO‐Rx Forum
  4/30/2017 Search for start time of pct text 200 mg e
  4/30/2017 http://forums.steroid.com/pct‐post‐cycle‐therapy/363329‐pct‐200‐mg‐test‐e‐10‐weeker.htm
  4/30/2017 http://www.bluelight.org/vb/archive/index.php/t‐689427.html
  5/20/2017 Search for best marijuana
  5/20/2017 http://www.complex.com/life/best‐weed‐strains‐right‐now/
  5/20/2017 http://the‐junky‐g.com/Strains_Types/Best_Sellers_Most_Popular/
 11/14/2017 Search for short steroid cycles vs long
 11/18/2017 Search for e2 symptoms
 11/18/2017 High Estrogen vs Low Estrogen Symptoms (For Men) ‐ Dosage May ...
6/12/2018 Search for what is best magic mushroom kit
6/24/2018 Search for recreational dispensaries
6/24/2018 Search for recreational dispensaries oakland ca
6/24/2018 http://www.shopharborside.com/
6/24/2018 https://amp.usatoday.com/amp/312169002                                                                            6/30/2
6/24/2018 Packing pot: How risky is it?: Travel Weekly                                                           6/30/2018, 7/1/20
6/24/2018 https://www.thrillist.com/amphtml/vice/how‐to‐sneak‐weed‐onto‐an‐airplane‐flying‐with‐pot                         6/30/2
6/24/2018 Search for marijuana laws maryland
6/24/2018 http://norml.org/laws/item/maryland‐penalties‐2
6/24/2018 Search for how many grams in 1/8 of weed
6/24/2018 how many grams is an 1/8? | Marijuana Forums
6/25/2018 Search for cannabis near me
6/25/2018 Oakland Cannabis Delivery | Marijuana Delivery by bud.com
6/25/2018 Purple Heart Patient Center ‐ Online Menu Now Available!
6/25/2018 http://www.magnoliaoakland.org/
6/28/2018 Search for Cannabis dispensary near me
6/28/2018 http://www.dutchmansflat.com/
6/29/2018 Search for north bay cannabis
6/29/2018 http://www.peaceinmedicine.org/
6/29/2018 Search for mail weed or take on plane cali
6/29/2018 Sneaking Weed On A Plane Is Easy & Flying with Edibles
6/29/2018 https://melmagazine.com/a‐practical‐guide‐to‐traveling‐with‐weed‐in‐2018‐de023d14370a
6/29/2018 Search for how many milligrams of thc gets you high
6/29/2018 The 10 Commandments of Marijuana Edible Safety • High Times
6/30/2018 Purple Heart Patient Center ‐ Online Menu Now Available!
6/30/2018 https://www.salon.com/amp/can‐i‐fly‐with‐my‐legal‐weed_partner
6/30/2018 Search for in cali what if tsa finds weed
6/30/2018 Ask a Weed Lawyer: What if the TSA Finds my Weed? | KINDLAND
6/30/2018 https://amp.theguardian.com/us‐news/2017/apr/06/marijuana‐tsa‐airport‐flying‐rules
6/30/2018 https://lifehacker.com/how‐a‐cannabis‐expert‐sneaks‐weed‐past‐the‐tsa‐1794340594/amp
6/30/2018 http://www.latimes.com/local/abcarian/la‐me‐abcarian‐cannabis‐tsa‐20171031‐story.html?outputType=amp
6/30/2018 What happens if the TSA finds marijuana in my checked luggage ...
6/30/2018 https://www.cnn.com/2014/05/02/travel/tsa‐suitcases‐marijuana/
6/30/2018 https://hightimes.com/culture/the‐high‐times‐guide‐to‐flying‐with‐marijuana/amp/
6/30/2018 What if TSA finds something illegal, but not dangerous? ‐ FlyerTalk ...
6/30/2018 Search for marijuana in dc
6/30/2018 Is Weed Legal in DC? Washington DC Marijuana Laws | Kush Tourism
6/30/2018 Search for dca airport and marijuana
6/30/2018 These Airports Say You Can Fly With Legal Marijuana | KINDLAND
6/30/2018 Domestic Airport Security ‐ Flying with MJ | Page 31 | Marijuana ...
6/30/2018 Search for do checked bags get searched for drugs
6/30/2018 https://flygirl.jezebel.com/how‐to‐bring‐drugs‐on‐an‐airplane‐1693383755/amp
6/30/2018 https://www.reddit.com/comments/4tx22l
  6/30/2018 Transportation Security Administration: What happens if your ...
  6/30/2018 What happens if after checking in your luggage at the airport ... ‐ Quora
  6/30/2018 Searched for can tsa scanners see weed
  6/30/2018 How many milligrams of THC are in a typical joint? ‐ HelloMD
   7/1/2018 Search for how to travel with weed california
   7/1/2018 Search for oakland airport tsa and weed
   7/1/2018 https://sanfrancisco.cbslocal.com/2015/12/18/tsa‐worker‐accused‐of‐smuggling‐marijuana‐through‐oakland‐airport/amp/
   7/1/2018 Search for flying with weed in carry on
   7/1/2018 https://herb.co/marijuana/news/flying‐with‐weed‐airport‐security
   7/1/2018 Travel Pro Tip: Can I Fly with Cannabis? – Key to Cannabis
   7/1/2018 Skunk No. 1 Strain Information — Leafly
   7/1/2018 Do‐Si‐Dos by Zion Gardens : Information & Reviews ‐ Leafly                                                            7/10/2
   7/6/2018 Search for how long thc in urine
   7/6/2018 https://hightimes.com/health/long‐thc‐stay‐urine/amp/
   7/6/2018 https://herb.co/marijuana/news/how‐long‐does‐weed‐stay‐in‐your‐urine/
   7/6/2018 Magic Mushrooms | 100% Mycelium Kit | Fast Delivery ‐ Zamnesia
   7/7/2018 Search for peyote seeds
   7/7/2018 https://www.zamnesia.com/content/517‐peyote‐seeds‐how‐to‐grow‐your‐own‐peyote‐cactus
   7/7/2018 Search for peyote trip
   7/7/2018 Learn Everything You Need To Know About The Psychedelic Peyote
  7/10/2018 Search for dosido weed
  7/10/2018 Search for super sour og
  7/10/2018 Super Sour OG Strain Information — Leafly
  7/15/2018 Search for 1 hitter
  7/15/2018 10 Best One‐Hitters Of 2017 • High Times
  7/18/2018 Search for if only smoke weed once a week how long will
  7/18/2018 http://www.honestmj.com/will‐casual‐pot‐smoker‐pass/amp/
  7/18/2018 Haven't smoked weed in exactly 14 days. Very light smoker, only ...
  7/19/2018 Search for how many mgs of thc per toke
  7/19/2018 https://hightimes.com/culture/how‐much‐thc‐is‐in‐a‐dab‐a‐bowl‐and‐a‐joint/amp/
  7/20/2018 Search for magic mushroom kit
  7/20/2018 Search for head shop near me
  7/21/2018 Searches related to magic mushrooms
  7/24/2018 Search for does military test magic mushroom
  8/14/2018 Searches related to magic mushrooms
   9/3/2018 Searches related to magic mushrooms
  9/11/2018 Searches related to magic mushrooms
  9/14/2018 Searches related to magic mushrooms

*Drug information relating to Tramadol not noted as purchaces have been previously reviewed
*Searches for fake urine conducted 7/23/2018, 7/24/2018, 7/25/2018, 8/2/2018
Category: Explosives

First Visited                                                                 Site
  5/23/2017 Search for shock tube
  5/23/2017 Shock tube ‐ Wikipedia
  5/23/2017 SHOCK TUBES ‐ Thermopedia
  5/23/2017 Shock tube detonator ‐ Wikipedia
  5/23/2017 Materials for fertilizer bombs not regulated | Homeland Security …
  5/27/2017 Search for Home made incedaries
  5/27/2017 http://news.softpedia.com/news/How‐to‐Build‐an‐Incendiary‐Bomb‐Based‐More‐Powerful‐Than‐Napalm‐56400.shmtl
  5/27/2017 https://www.pinterest.com/pin/67483694391888332/
  5/27/2017 http://www.adelaidenow.com.au/news/south‐australia/14‐trucks‐extensively‐damaged‐by‐homemade‐incendiary‐devices‐at‐para‐hills‐w
  5/27/2017 Homemade Incendiary Grenade ‐ YouTube
  5/27/2017 https://www.youtube.com/watch?v=‐gpM2IGMg!g
  5/27/2017 Search for homemade thermal paste
  5/27/2017 Alternative to thermal paste… watch this!!! ‐ YouTube
  5/27/2017 homemade thermite paste
  5/27/2017 http://www.dailymail.co.uk/sciencetech/article‐3519376/Definitely‐don‐t‐try‐home‐YouTube‐star‐makes‐homemade‐thermite‐cannon‐la
  5/27/2017 Search for homemade thermite
  5/27/2017 Search for first fire mix
  5/27/2017 THERMITE: This formula ‐ Textfiles
  5/27/2017 http://www.instructables.com/community/alternative‐ignition‐of‐termite/
  5/27/2017 https://www.crossfader.fm/mixes/first‐fire‐mix/
  5/29/2017 Search for hmtd recipe
  5/29/2017 HMTD ‐ Budget Pyro
  5/29/2017 https://www.youtube.com/watch?v=6pkqWuMYezY
  5/29/2017 Search for how to make hmtd
  5/29/2017 https://vimeo.com/114722530
  5/29/2017 Search for hexamine
  5/29/2017 Hexamine fuel tablet ‐ Wikipedia
  5/29/2017 https://www.amazon.com/dp/B00JGDUXSQ
  5/29/2017 Hexamine | C6H12N4 | ChemSpider
  5/29/2017 Search for hmtd
  5/29/2017 Hexamethylene triperoxide diamine ‐ Wikipedia
5/29/2017 Search for tatp and hmtd
5/29/2017 Decreasing the Friction Sensitivity of TATP, DADP and HMTD
5/29/2017 Search for tatp and anfo
5/29/2017 http://onlinelibrary.wiley.com/doi/10.1002/prep.200700230/pdf
5/29/2017 Sciencemadness Discussion Board ‐ Anfo detonator ‐ Powered by …
5/29/2017 Search for Better than hmtd
5/29/2017 Sciencemadness Discussion Board ‐ Primary Explosive questions …
5/29/2017 Search for ddnp synthesis
5/29/2017 DDNP
5/29/2017 Search for plastic explosive c4
5/29/2017 C‐4 (explosive) ‐ Wikipedia
5/29/2017 Searched for Homemade c4
5/29/2017 How to make c4 | Page 1 | Naked Science Forum
5/29/2017 Search for Homemade rdx
5/29/2017 https://uscrow.org/2014/09/30/make‐c4‐rdx‐explosives
5/29/2017 Search for nitric acid
5/29/2017 https://en.m.wikipedia.org/wiki/Nitric_acid
1/24/2018 Search for ricin
1/24/2018 Everything you need to know about ricin poison | Popular Science
1/24/2018 A Vermont Woman Tested Ricin Poison on Wake Robin Residents ...
 1/7/2019 Search for biological weapon
 1/7/2019 The world's most dangerous bioweapons ‐ Army Technology
 1/7/2019 Search for homemade biological weapon
 1/7/2019 http://www.askaprepper.com/common‐biological‐weapons‐antidotes/
1/22/2019 Search for copper 10 in dish
1/22/2019 Search for solid copper bowl
Category: Incels

First Visited                                    Site
  7/16/2018 Saint Elliot Rodger and the 'Incels' Who Canonize Him ‐ Jezebel
  7/16/2018 Search for saint elliot
  7/16/2018 https://www.reddit.com/comments/57v6t2
  7/17/2018 Search for incels
  7/17/2018 https://incels.me/
  7/18/2018 Search for incel
  7/18/2018 The Incel Movement | Psychology Today
  7/18/2018 Search for elliot rodger youtube
  7/18/2018 Elliot Rodger's Retribution ‐ YouTube
  7/19/2018 Search for elliot rodger
  7/19/2018 What Is 'Saint Elliot's Day'? Former UCSB Student Recalls Elliot ...
  7/19/2018 Search for incel rebellion
  7/19/2018 Search for incel rebellion reddit
Category: Mass Shootings

First Visited                                         Site
  2/18/2017 Search for Aurora shooter loadout
  2/18/2017 https://en.wikipedia.org/wiki/2012_Aurora_shooting
  7/19/2018 Search for Murders of Alison Parker and Adam Ward
  7/19/2018 https://en.m.wikipedia.org/wiki/Murders_of_Alison_Parker_and_Adam_Ward
  7/19/2018 Search for seung hui cho
  7/19/2018 https://en.m.wikipedia.org/wiki/Seung‐Hui_Cho
  7/19/2018 Search for james holmes
  7/19/2018 https://en.m.wikipedia.org/wiki/James_Holmes_(mass_murderer)

*Search for Anders Breivik also conducted 7/19/2018 (see Breivik tab)
Category: McVeigh

First Visited                                                 Site
  5/23/2017 Search for oklahoma city bombing
  5/23/2017 Search for tim mcveigh
  5/23/2017 Search for timothy mcveigh writings
  5/23/2017 An Essay by Timothy McVeigh ‐ Outpost of Freedom
  5/23/2017 Search for mcveigh
  5/23/2017 Search for bomb mcveigh used
  5/23/2017 http://www.wnd.com/2001/05/9372/
  5/23/2017 http://nypost.com/2015/04/17/mcveigh‐regarded‐bombing‐that‐killed‐168‐people‐a‐failure/
  5/29/2017 Search for tim mcveigh
  5/29/2017 Search for timothy mcveigh forum
  5/29/2017 Tim McVeigh's Forum ‐ Outpost of Freedom
    6/5/2017 Search for oklahoma city bombing theories
    6/5/2017 Oklahoma City bombing conspiracy theories ‐ Wikipedia
Category: Misc.

First Visited Site
   1/30/2017 Search for liberal think tanks
   1/30/2017 Search for liberal think tanks dc
   1/30/2017 http://thebestschools.org/features/most‐influential‐think‐tanks/
   1/30/2017 http://www.progressivepolicy.org/
   1/30/2017 Search for soros funded think tanks
   2/15/2017 Search for destruction of washington dc
   2/19/2017 Search for Must have for bug out gear
   2/19/2017 75 bug Out Bag List Essentials [2018 Update] ‐ Bug Out Bag Academy
   2/19/2017 http://www.survivalcrackas.com/bug‐out‐bag‐list‐essentials/
   2/19/2017 Search for weapons for bug out
   2/19/2017 Bug Out Weapons: Apocalyptic Survival ‐ Survival Mastery
   2/19/2017 http://www.thetruthaboutguns.com/2015/12,sara‐tipton/why‐i‐dont‐have‐a‐bug‐out‐bag/
   2/19/2017 Search for ar pistol for bug out
   2/19/2017 http://www.ar15.com/forums/t_10_17/657065_The_perfect_Bug_Out_Bag__Bug_Out_Guns__You_like_my_idea_.html
   3/24/2017 Search for oathkeeper
   3/24/2017 Search for oathkeepers
   3/24/2017 Search for oathkeepers.org
   3/24/2017 Oath Keepers
   3/24/2017 https://www.oathkeepers.org/
   3/24/2017 Virginia Oath Keepers | Guardians of the Old Dominion
   3/25/2017 Search for oathkeepers
   3/25/2017 Oath Keepers ‐ Wikipedia
   5/20/2017 Search for earth first
   5/20/2017 Earth First! ‐ Wikipedia
   5/21/2017 Search for extreme isolation
   5/21/2017 BBC ‐ Future ‐ How extreme isolation warps the mind
   5/21/2017 http://motherjones.com/politics/2012/10/donald‐o‐hebb‐effects‐extreme‐isolation
   5/23/2017 Search for koanic soul blog reading faces
   5/23/2017 https://www.reddit.com/comments/215k0w
   5/23/2017 The Neanderhall ∙ View topic ‐ The Big Face‐Reading Thread
   5/29/2017 Search for how to bring down the system
   5/29/2017 Search for how to bring down the us government
   5/29/2017 Search for most liberal cities in the us
   5/29/2017 20 Top Liberal Cities in the USA: Can You Guess What They Are …
   5/29/2017 Search for most liberal colleges in the us
5/29/2017 http://www.bestcolleges.com/features/most‐liberal‐colleges/
5/29/2017 The most liberal universities in the United States ‐ Washington Post
5/29/2017 Search for most liberal professors in the us
5/29/2017 http://www.washingtontimes.com/news/2016/oct/6/liberal‐professors‐outnumber‐conservatives‐12‐1/
5/29/2017 Search for most liberal professors in the usa are
5/29/2017 Search for liberal professors watch list
 6/3/2017 Search for duckduckgo
 6/3/2017 DuckDuckGo ‐‐ Privacy, simplified
 6/6/2017 Silenced. ‐ our ware on free speech
 6/6/2017 https://medium.com/@Cernovich/silenced‐a‐free‐speech‐documentary‐by‐mike‐cernovich‐receives‐rave‐reviews‐7406c5faecee
 6/6/2017 Search for portable cutting torch
 6/6/2017 Search for portable oxygen cutting torch
 6/6/2017 OX2550KC Oxy/Map‐Pro Torch Kit ‐ YouTube
 6/6/2017 Search for portable exothermic cutting torch
 6/6/2017 MAG4000 exothermic cutting kit, MagnumUSA, 800‐957‐4344
 6/6/2017 Search for plasma cutter
 6/6/2017 Plasma cutting ‐ Wikipedia
 6/6/2017 http://www.lincolnelectric.com/en‐us/equipment/plasma‐cutters/Pages/plasma‐cutters.aspx
 6/6/2017 Harbor freight plasma cutter ‐ YouTube
 6/8/2017 Search for the enemies within
 6/8/2017 The Enemies Within‐Trevor Loudon (LISTEN!) ‐ YouTube
 6/8/2017 Trevor Loudon's New Zeal Blog >> ORDER: 'The Enemies Within …
 6/8/2017 Search for democractic socialists of america
 6/8/2017 http://www.dsausa.org/
7/29/2017 Search for likelihood of us collapse
7/29/2017 http://www.silverdoctors.com/gold/gold‐news/what‐america‐will‐look‐like‐following‐the‐collapse‐five‐things‐you‐can‐count‐on‐happening/
7/31/2017 Search for how to flee city when shtf
7/31/2017 Escaping a City During SHTF | BeSurvival
7/31/2017 How to escape the Big Cities when SHTF hits! ‐ American Preppers…
7/31/2017 http://www.offthegridnews.com/extreme‐surivial/get‐out‐of‐dodge‐10‐tips‐for‐escaping‐any‐city‐when‐society‐collapes/
7/31/2017 Advice From A Collapse Survivor: "RUN!" From Major Cities
7/31/2017 https://www.shtfproperty.com/
7/31/2017 http://www.secretsofsurvival.com/survival/survival‐anarchy‐americas‐collapse.html
9/11/2017 Search for most tactically proficient militia
9/11/2017 How can I get military style survival and combat training as a civilian … ‐Quora
9/11/2017 Search for most tactically proficient militia usa
9/11/2017 http://www.telegraph.co.uk/news/worldnews/northamerica/usa/7944563/The‐truth‐behind‐Americas‐civilian‐militias.html
11/3/2017 Search for how much silver for shtf
11/23/2017 Search for the destruction of europe
11/23/2017 https://www.youtube.com/watch?v=E16a2RpZunU
12/16/2017 Search for joe scarborough
12/16/2017 https://en.m.wikipedia.org/wiki/Joe_Scarborough
  1/7/2018 Search for rep schumer
  1/7/2018 https://en.m.wikipedia.org/wiki/Chuck_Schumer
  1/7/2018 fbi hrt
  1/7/2018 Hostage Rescue Team ‐ Wikipedia
 2/11/2018 Search for ammon bundy
 2/11/2018 https://en.m.wikipedia.org/wiki/Ammon_Bundy
 2/11/2018 Bundy Ranch
 2/11/2018 Ammon Bundy ‐ Wikipedia
 2/11/2018 Search for how many informants at oregon standoff
 2/11/2018 http://www.oregonlive.com/oregon‐standoff/2017/02/defense_asks_retired_fbi_agent.html
 2/11/2018 OREGON STANDOFF: Blogger outs FBI informants as prosecutors ...
 2/11/2018 How many FBI informants in the Bundy Militia group in Oregon ...
 2/11/2018 http://www.investmentwatchblog.com/exposed‐fbi‐authorized‐informants‐to‐commit‐crime‐during‐oregon‐standoff/
 2/11/2018 Occupation of the Malheur National Wildlife Refuge ‐ Wikipedia
 2/11/2018 Search for informants at oregon standoff
 2/11/2018 Search for who were informants at oregon standoff
 2/11/2018 Search for malheur informants
 2/11/2018 informants | Outpost of Freedom blog
 2/11/2018 Oregon Occupier Was a Government Informant | Time
 2/11/2018 Search for Mark McConnell informant
 2/11/2018 Search for snipers at bundy oregon standoff video
 2/11/2018 Leaked BLM footage shows federal snipers at Bunkerville ‐ YouTube
 2/18/2018 https://knightstemplarinternational.com/2017/04/video‐heavily‐armed‐antifa‐march‐at‐phoenix‐arizona/
 2/18/2018 Search for what is knights templar international
 2/18/2018 Knights Templar International ‐ RationalWiki
 2/18/2018 Knights Templar International ‐ RC Groups
 2/18/2018 https://www.facebook.com/ktmilitaryorder/
 2/18/2018 https://knightstemplarinternational.com/2017/04/video‐heavily‐armed‐antifa‐march‐at‐phoenix‐arizona/
 2/18/2018 Search for orthodox knights
 2/18/2018 Russian tradition of the Knights Hospitaller ‐ Wikipedia
 2/18/2018 Orthodox Order of Saint John
 2/18/2018 Search for orthodox military orders
 2/18/2018 Imperial Military Order of St. George: History of the Order
 2/20/2018 Search for lone sniper in shtf
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 3/3/2018 Search for twitter ceo's house
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 1/3/2019 Search for human masks that look real
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 1/5/2019 Ecodefense: A Field Guide to Monkeywrenching | The Anarchist ...
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  5/23/2017 Free Eric Rudolph! ‐ The Christian Solution
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  1/31/2017 Search for russian far right
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  1/31/2017 Search for russian nationalist
  1/31/2017 Russian Liberation Movement ‐ Wikipedia
  1/31/2017 Search for russian nationalist party
  1/31/2017 People's National Party (Russia) ‐ Wikipedia
  1/31/2017 Search for russian right wing
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    2/1/2017 Russian neo‐Nazi "Kornilovtsy" battalion operating in Ukraine…
    2/1/2017 Search for imperial legion
    2/1/2017 Search for imperial legion Russia
    2/1/2017 http://www.rferl.org/a/russia‐ukraine‐volunteers‐kremlin‐easy‐to‐fight‐/26828559.html
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  2/23/2017 Search for Russian nationalist forum
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  2/24/2017 Appeal of Russian nationalists to European (white) nationalist (right…)
  5/29/2017 Search for conservative russian orthodox church
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  5/29/2017 Search for orthodox nationalist
  5/29/2017 http://www.rusjournal.org/
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  3/17/2018 Russian Nationalism 101, by Anatoly Karlin ‐ The Unz Review
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 3/21/2018 Search for moving to usa from russia
 3/21/2018 Why are more Americans Moving to Russia? ‐ Fort Russ
 3/21/2018 Search for immigration to russia from usa
 3/21/2018 Russian Immigration Laws ‐ Way to Russia Guide
 3/21/2018 Search for average wage in russia
 3/21/2018 http://blogs.elenasmodels.com/en/average‐monthly‐income‐russia‐wages‐rosstat/
 3/21/2018 How much is Russian median income? What life standard does a ...
 3/21/2018 PravdaReport: News and analytical materials
 3/25/2018 Search for can you own firearms in russia
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  1/4/2019 Search for russia cabin for sale
  1/4/2019 Country Houses Moscow | Knight Frank Russia
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   12/4/2016 http://ravencresttactical.com/top‐5‐famous‐deadly‐swords/
   2/20/2017 Search for how to maintain firearms training for combat
   2/20/2017 Search for how much to shoot to maintain
   2/20/2017 Search for how much to shoot to maintain combat proficiency
   2/22/2017 Search for quick draw from concealed carry
   3/31/2017 Search for How to kill with knife
   3/31/2017 http://www.escapistmagazine.com/forums/read/18.306368‐the‐REAL‐way‐to‐make‐a‐silent‐kill?page=2
   3/31/2017 http://www.wikihow.com/Use‐a‐Knife‐in‐a‐Combative‐Situation
   3/31/2017 Combative Anatomy: Using a knife for self defense | Exigent ...
   3/31/2017 CS:GO ‐ Knife tactics ‐ YouTube
     4/1/2017 Search for best knife for self defense
     4/1/2017 http://hiconsumption.com/2015/01/best‐self‐defense‐knives/
     4/2/2017 Search for best modern fighting knife
     4/2/2017 Search for Modern dagger
   7/24/2017 Search for solvent trap                                                                             1/5/2019
   8/21/2017 Search for ghost guns
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  12/10/2017 Search for best out of box sniper rifle
     1/2/2019 Search for gun cotton for mortar                                                                  1/21/2019
     1/2/2019 Newton 6‐inch mortar ‐ Wikipedia                                                                  1/21/2019
     1/2/2019 https://patents.google.com/patent/US3731634A/en
     1/2/2019 Cordite ‐ Wikipedia
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     1/3/2019 Sciencemadness Discussion Board ‐ Home produced smokeless ...
     1/3/2019 Gun Cotton Homemade Version! ‐ YouTube
     1/3/2019 Search for nitrocellulose
     1/3/2019 ‫ﻧﻳﺗﺭﻭﺳﻠﻭﻟﺯ ‐ ﺩﺍﻟﻔﮏ‬
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     1/4/2019 Search for dissolve guncotton
     1/4/2019 Gun Cotton and Collodion ‐ Scientific American
     1/4/2019 Cordite vs smokeless vs black powder ‐ brief demonstration ‐ Full30
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  3/28/2017 Search for Stormfront                                                                          6/10/2017, 9/21/2018
  3/28/2017 https://www.stormfront.org                                                                                 6/10/2017
    4/2/2017 Search for Aryan legion
  5/27/2017 Principal of mostly black charter school fired for neo‐Nazi rings and …
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